Case 06-10725-gwz

Invoice No.:
Matter No.:

1858669
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813

DATE

03/02/07

03/05/07

03/21/07

03/21/07

03/21/07

03/22/07

03/22/07
03/22/07

03/23/07

03/23/07
03/23/07

03/26/07

03/26/07

03/28/07
03/30/07

TIMEKEEPER

Collin B. Williams

Collin B. Williams
Matthew T. Gensburg

Nancy A. Peterman

Collin B. Williams

Matthew T. Gensburg

Nancy A. Peterman
Collin B. Williams

Kerry E. Carlson

Sonal P. Desai
Collin B. Williams

Nancy A. Peterman

Nancy A. Peterman

Matthew T. Gensburg
Matthew T. Gensburg

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Research regarding 9th Circuit and other
law on proprietary of success fees/fee
enhancements (2.9); work on memo
regarding same (4.1).

Work on memo regarding fee
enhancements

Review emails re: status from Darr on fee
application issues.

Telephone conference with S. Darr re fee
application issues and other matters (2.0);
work on various issues relating to the fee
application (1.2).

Research regarding judicial notice of
tulings, pleadings and orders in other cases
for fee application (1.6); draft memo
regarding same (1.0).

Review emails re: judicial notice from
Peterman and Williams.

Work on fee application issues.

Work on materials for success fee binder
and argument (3.1); research regarding
lodester multipliers as they pertain to
trustee compensation (2.3).

Pull all cases cited in C. Williams memo on
success fees (.3); gather additional research
and background information on success
fees in other cases (.8).

Research re success fee cases.

Work on success fee binders and materials
in preperation for fee application hearing.
Telephone conference with S. Darr re fee
application, Sal Reale issues, etc. (.4);
telephone conferences (2) with S. Strong re
fee applications, Sal Reale, Sierra Liquidity
and other issues (.6).

Prepare agenda for call with MFIM
representatives (.8); prepare and participate
in same call (1.2); follow-up on all open
issues (.6).

Review fee application materials.

Review emails re: status of fee application
preparation.

Total Hours:

Doc 3730-7 Entered 05/14/07 14:12:23 Page 1 of 10

Page 3
HOURS AMOUNT
7.00 2,240.00
2.60 832.00
0.10 58.00
1.40 812.00
2.60 832.00
0.10 58.00
1.00 580.00
5.40 1,728.00
1.10 209.00
0.30 55.50
6.50 2,080.00
1.00 580.00
2.60 1,508.00
0.20 116.00
0.20 116.00

32.10
Case 06-10725-gwz Doc 3730-7 Entered 05/14/07 14:12:23 Page 2 of 10

Invoice No.: 1858669 Page 4
Matter No.: 083230.012700

Description of Professional Services Rendered

Total Amount: $ 11,804.50
TIMEKEEPER SUMMARY FOR ACTION CODE 813,
FEE/EMPLOYMENT APPLICATIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Matthew T. Gensburg 0.60 580.00 348.00
Nancy A. Peterman 6.00 580.00 3,480.00
Collin B. Williams 24.10 320.00 7,712.00
Kerry E. Carlson 1.10 190.00 209.00
Sonal P. Desai 0.30 185.00 55.50

Totals: 32.10 367.74 $ 11,804.50
Case 06-10725-gwz

Invoice No.: 1858669
Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Doc 3730-7 Entered 05/14/07 14:12:23

Page 3 of 10

Page 5

Timekeeper Name Hours Billed Rate Total $ Amount
Matthew T. Gensburg 0.60 580.00 348.00
Nancy A. Peterman 10.30 580.00 5,974.00
Collin B. Williams 24.10 320.00 7,712.00
Kerry E. Carlson 1.30 190.00 247.00
Sonal P. Desai 0.30 185.00 55.50
Carla Greenberg 0.40 100.00 40.00
Elisa Rodriguez 2.10 100.00 210.00

Totals: 39.10 373.06 $ 14,586.50
Case 06-10725-gwz

Invoice No.:

Re:

Matter No.:

1858669
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

03/02/07
03/21/07
03/22/07
03/23/07
03/23/07
03/23/07
03/23/07
03/23/07
03/23/07
03/23/07
03/26/07
03/27/07

DESCRIPTION

Westlaw Research by WILLIAMS,COLLIN B.

Westlaw Research by WILLIAMS,COLLIN B.

Westlaw Research by WILLIAMS,COLLIN B.

Copy; 213 Page(s) by 015045

Copy; 1252 Page(s) by 007611

Telephone; 7023886192 from Ext. 5108 LAS VEGAS NV
Telephone; 7023886257 from Ext. 5108 LAS VEGAS NV
Telephone; 7023886705 from Ext. 5108 LAS VEGAS NV
Telephone; 7023886705 from Ext. 5108 LAS VEGAS NV
Westlaw Research by DESAI,SONAL.

Westlaw Research by WILLIAMS,COLLIN B.
Telephone; 6172351415 from Ext. 5108 BOSTON MA

Total Expenses:

FAFA FAFA FHA FAF A KH SKS

Doc 3730-7 Entered 05/14/07 14:12:23 Page 4 of 10

Page 6

AMOUNT

49.39
72.81
82.42
31.95
187.80
0.08
0.24
0.24
0.16
68.69
109.70
0.08

A

603.56
Case 06-10725-gwz

Invoice No.:
Matter No.:

1869076
083230.012700

Description of Professional Services Rendered:

ACTION CODE: 813

DATE

TIMEKEEPER

04/02/07
04/02/07

04/02/07

04/03/07
04/03/07

04/04/07
04/05/07

04/05/07

04/05/07

04/05/07

04/06/07

04/06/07

04/09/07

04/09/07

04/09/07

04/09/07

04/10/07

04/10/07

Matthew T. Gensburg
Matthew T. Gensburg

Nancy A. Peterman

Matthew T. Gensburg
Nancy A. Peterman

Matthew T. Gensburg
Mark D. Bloom

Matthew T. Gensburg

Matthew T. Gensburg

Matthew T. Gensburg

Matthew T. Gensburg

Nancy A. Peterman

Kerry E. Carlson
Kerry E. Carlson

Matthew T. Gensburg

Nancy A. Peterman

Matthew T. Gensburg

Nancy A. Peterman

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Review success fee memo.

Review emails re: CRO success fees and
typical fees for investment bankers.
Prepare for and participate in call with
MFIM re fee application issues (1.1);
conference with M. Gensburg re same
(.30).

Review research and cases re: success fee.
Exchange emails with M. Kehl re fee
application (.20); review email from S.
Darr re status of same (.20).

Review case summaries re: success fees.
telephone conference with NPeterman re
case issues, possible objections to fee
application, scope of work and specific
issues

Review "Success Fee" memo and emails
related to same from Williams (2x), Kehl,
Peterman.

Review emails re: claims to Investor Trust
Account from Schwartzer, Charles,
Peterman.

Review emails re: removal of Mesirow
work product from Charles, Jarvis (2x).
Review and outline fee application (1.5);
conference re: same (.8); review emails
related to same (.2).

Revise success fee memo (1.7); exchange
emails with C. Williams re same (.20);
prepare email to M. Kehl re success fee
factors (.20).

Update docket and calendar to reflect new
dates for final fee application.

Update docket and calendar to reflect new
dates for final fee application.

Review emails re: status from Peterman
(.3); review disclosure statement (1.5);
review fee application (2.0).

Prepare for and participate in call with
MFIM re fee application (.70); follow-up
on open issues re fee application (.40).
Review email transmitting success fee
motions in other cases (1.0); review success
fee case law (.2).

Telephone conference with M. Kehl re fee
application issues (allocation issues) (.20);

Doc 3730-7 Entered 05/14/07 14:12:23 Page 5 of 10

Page 1
HOURS AMOUNT
0.50 290.00
0.30 174.00
1.40 812.00
0.90 $22.00
0.40 232.00
1.50 870.00
0.30 195.00
1.60 928.00
0.30 174.00
0.30 174.00
2.50 1,450.00
2.10 1,218.00
0.40 76.00
0.50 95.00
3.80 2,204.00
1.10 638.00
1.20 696.00
0.40 232.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1869076
083230.012700

Description of Professional Services Rendered

04/11/07

04/11/07

04/11/07

04/12/07

04/16/07

04/16/07

04/17/07

04/17/07
04/17/07

04/18/07

04/18/07

04/18/07

Kerry E. Carlson

Matthew T. Gensburg

Nancy A. Peterman

Matthew T. Gensburg

Matthew T. Gensburg

Nancy A. Peterman

Matthew T. Gensburg

Sherri Morissette
Nancy A. Peterman

Kerry E. Carlson

Matthew T. Gensburg

Sherri Morissette

conference with S. Morissette re fee
applications (.20).

Research dates related to final applications
for compensation as set forth in the Plan
and third stipulation related to the same
(.6); assist S. Morissette with researching
on cases awarding success fees (.6).
Review revisions to fee application (2.8);
review emails re: modifications from
Morrisette, Peterman (9x), Kehl (3x),
Smith, Carlson (2x), Greenberg (.4);
conference with Peterman and Kehl re:
changes (.1).

Review and comment on draft fee
application (3.0); conference with M.
Gensburg re same (.10); review March fee
statement (.80); prepare email to M. Kehl
re same (.20); telephone conference with S.
Darr te fee application (.30); telephone
conference with M. Kehl re fee application
issues (.30).

Review emails re: hearing from Peterman,
Carlson re final fee application.

Review emails re: final fee application from
Kehl (.3); review new draft of final fee
application (1.0).

Prepare for and participate in telephone
conference with MFIM re fee application
(.80); telephone conference with B. Fasel re
sale process (.20); telephone conference
with M. Kehl re fee application issues
(.40); telephone conference with S. Darr re
same (.20); work on fee application issues
(.90).

Review second draft of fee application
(9.5); conference re: same (1.0).

Work on final fee application.

Meet with MFIM (S. Smith, S. Darr, M.
Kehl, B. Coe and M. Haftl), M. Gensburg
and S. Morissette re fee application,
specific case accomplishments, each
category of fees, etc.

Research declarations in support of
involuntary petitions filed against Tree
Moss Partners, LLC and USA Investors VI,
LLC re final fee application (.2); research
possible adversary actions filed against Del
and Emestine Bunch; discuss findings with
S. Morissette re final fee application (.2).
Interview Mesirow re: sale process and
loan portfolio work (2.0); draft sections of
fee application (9.0).

Work on final fee application

1.20

3.30

4.70

1.10

1.30

2.50

10.50

8.50
9.50

0.40

11.00

10.40

Doc 3730-7 Entered 05/14/07 14:12:23 Page 6 of 10

Page 2

228.00

1,914.00

2,726.00

638.00

754.00

1,450.00

6,090.00

3,910.00
5,510.00

76.00

6,380.00

4,784.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1869076
083230.012700

Description of Professional Services Rendered

04/18/07
04/19/07

04/19/07
04/19/07
04/19/07
04/19/07
04/19/07
04/19/07

04/19/07

04/19/07

04/19/07
04/19/07

04/20/07

04/20/07

04/20/07

04/20/07

04/20/07

04/20/07
04/20/07

04/22/07

04/23/07

Nancy A. Peterman
Kerry E. Carlson

Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg

Matthew T. Gensburg

Matthew T. Gensburg

Sherri Morissette
Nancy A. Peterman

Matthew T. Gensburg

Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg
Matthew T. Gensburg

Sherri Morissette
Nancy A. Peterman

Nancy A. Peterman

Kerry E. Carlson

Revise final fee application.

Research and review administrative
compensation order (.2); confirm details for
service of final application (.2); meet with
M. Keil to review status of final application
and goals to be completed (.2).

Review emails from Peterman, Kehl re
drafting final fee application.

Review exhibits re final fee application.
Continue redraft of fee application.

Review National Fund and USA DTDF
quarterly reports re final fee application.
Review post-petition organization chart re

final fee application.

Review FTDF Prospectus and offering
circulars re final fee application.
Review USA Investment Partners UCC
search and UCC filings and promissory
note and security agreement re final fee

application.

Review catalog of committee requests re

final fee application.

Work on final fee application.

Exchange emails with M. Gensburg re fee
application (.30); prepare for and attend
meeting with MFIM (T. Allison, B. Coe, S.
Smith and S. Darr) and Debtors' counsel
(A. Jarvis, E. Monson, S. Strong) re various
fee application issues (6.1).

Review emails re: declarations from
Peterman (4x); Strong; Jarvis (3x);
Schwartzer; McPherson (2x).

Review emails re: exhibits from Morissette,

Kehl.

Review emails re: status of draft from
Peterman (6x);, Morissette, Jarvis, Kehl

(2x), Fasel (2x)

Review billing charts re final fee

application.
Redraft fee application.

Work on final fee application.

Attend meeting with MFIM (T. Allison, B.
Coe, S. Smith and S. Darr) and Debtors'
counsel (A. Jarvis, E. Monson, S. Strong)
re various fee application issues (5.2);
review various pleadings relating to the
cases in order to prepare fee applications

(2.6).

Review various background pleadings
relating to plan implementation issues and
various pieces of litigation re final fee

application.

Draft declarations of Allison and Smith in

5.10
0.60

0.50
0.20
2.60
0.10
0.10
0.20

0.30

0.10

8.30
6.50

0.40

0.10

0.40

0.20

4.70

9.20
7.80

4.90

0.80

Doc 3730-7 Entered 05/14/07 14:12:23 Page 7 of 10

Page 3

2,958.00
114.00

290.00
116.00
1,508.00
58.00
58.00
116.00

174.00

58.00

3,818.00
3,770.00

232.00

58.00
232.00
116.00

2,726.00

4,232.00
4,524.00

2,842.00

152.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1869076
083230.012700

Description of Professional Services Rendered

04/23/07

04/23/07

04/23/07
04/23/07

04/23/07
04/23/07

04/24/07

04/24/07

04/24/07

04/24/07

04/24/07
04/24/07

Matthew T. Gensburg
Matthew T. Gensburg

Matthew T. Gensburg
Matthew T. Gensburg

Sherri Morissette
Nancy A. Peterman

Matthew T. Gensburg
Matthew T. Gensburg

Matthew T. Gensburg

Matthew T. Gensburg

Sherri Morissette
Nancy A. Peterman

support of final application for
compensation and success fee.

Review insert and drafts re final fee
application.

Review emails re: changes to application
from Peterman (5x), Smith, Morissette
Conference re: changes to fee application.
Review fee application exhibits including
$58M and 1090 Collateral Analysis;
Debtors Limited Objection to PDG's
Disbursement; Benefits to Debtor's Chart.
Work on final fee application

Revise fee application (8.7); draft
introduction to fee application (2.3);
numerous conferences with MFIM
personnel re various fee application issues
(1.3); numerous conference with M.
Gensburg re success fee (.60).

Review emails re: service of fee applciaotin
from Peterman, Schwartzer.

Review "Introduction " from Ray Quinney
application re final fee application.
Review emails re: needed changes to fee
application from Peterman, Kehl (2x),
Haftl, Allison, Darr (2x).

Continue draft and redraft of fee
application.

Work on final fee application.

Meetings with T. Allison, S. Smith, M.
Kehl, M. Haftl and S. Darr re fee
application, open issues, additional factual
background, etc (3.6); revise introduction
to fee application (3.9); exchange emails
with A. Jarvis re fee application filing
issues, introduction, etc. (.20); revise fee
application (2.3).

Total Hours:

7.10

0.30

0.90
0.20

11.00
12.90

0.20

0.20

0.10

8.40

12.00
10.00

Doc 3730-7 Entered 05/14/07 14:12:23 Page 8 of 10

Page 4

4,118.00
174.00

522.00
116.00

5,060.00
7,482.00

116.00
116.00

58.00

4,872.00

5,520.00
5,800.00

200.30

Total Amount:

$ 107,546.00
Case 06-10725-gwz Doc 3730-7 Entered 05/14/07 14:12:23 Page 9 of 10
Invoice No.: 1869076 Page 5
Matter No.: 083230.012700
Description of Professional Services Rendered
TIMEKEEPER SUMMARY FOR ACTION CODE 813,

FEE/EMPLOYMENT APPLICATIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Mark D. Bloom 0.30 650.00 195.00
Matthew T. Gensburg 67.40 580.00 39,092.00
Nancy A. Peterman 69.30 580.00 40,194.00
Sherri Morissette 59.40 460.00 27,324.00
Kerry E. Carlson 3.90 190.00 741.00

Totals: 200.30 536.92 $ 107,546.00
Case 06-10725-gwz Doc 3730-7 Entered 05/14/07 14:12:23

Page 10 of 10

Invoice No.: 1869076 Page 6

Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Timekeeper Name Hours Billed Rate Total $ Amount

Mark D. Bloom 0.30 650.00 195.00

Matthew T. Gensburg 67.40 580.00 39,092.00

Nancy A. Peterman 69.30 580.00 40,194.00

Sherri Morissette 59.40 460.00 27,324.00

Kerry E. Carlson 3.90 190.00 741.00
Totals: 200.30 536.92 $ 107,546.00
